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                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:                                             )      Misc. No. __________
                                                    )
 HUDSON PALMER HOMES, INC. f/k/a                    )      Chapter 7
 THE CUTLER GROUP, INC.,                            )
                                                    )
                                   Debtor.          )      Bankruptcy Case No. 18-17509 (JKF)
                                                    )
                                                    )
                                                    )
                                                    )
 NAVIGATORS SPECIALTY INSURANCE                     )
 COMPANY,                                           )
                                                    )
                                   Plaintiff,       )      Adv. Pro. No. 19-00146 (JKF)
                                                    )
                          v.                        )
                                                    )
 HUDSON PALMER HOMES, INC., f/k/a                   )
 THE CUTLER GROUP, INC.,                            )
                                                    )
                                   Defendant.       )


             MOTION OF NAVIGATORS SPECIALTY INSURANCE COMPANY
                       FOR WITHDRAWAL OF REFERENCE


           Navigators Specialty Insurance Company ("Navigators"), through its undersigned counsel,

hereby files this Motion for Withdrawal of Reference, and in support thereof states as follows:
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        1.    Navigators will rely upon the Brief in Support of Motion of Navigators for

Withdrawal of Reference, filed herewith, and the oral argument of counsel on the return date.

Dated: September 5, 2019                           Respectfully submitted,

                                                   SPILMAN THOMAS & BATTLE, PLLC

                                                   By: /s/ Julian E. Neiser
                                                       Julian E. Neiser
                                                       Pa. Id. No. 87306

                                                       One Oxford Centre, Suite 3440
                                                       301 Grant Street
                                                       Pittsburgh, PA 15219

                                                       T: (412) 325-1116
                                                       F: (412) 325-3324
                                                       E: jneiser@spilmanlaw.com

                                                   Attorneys for Navigators Specialty Insurance
                                                   Company




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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:                                           )        Misc. No. __________
                                                  )
 HUDSON PALMER HOMES, INC. f/k/a                  )        Chapter 7
 THE CUTLER GROUP, INC.,                          )
                                                  )
                                 Debtor.          )        Bankruptcy Case No. 18-17509 (JKF)
                                                  )
                                                  )
                                                  )
                                                  )
 NAVIGATORS SPECIALTY INSURANCE                   )
 COMPANY,                                         )
                                                  )
                                 Plaintiff,       )        Adv. Pro. No. 19-00146 (JKF)
                                                  )
                        v.                        )
                                                  )
 HUDSON PALMER HOMES, INC., f/k/a                 )
 THE CUTLER GROUP, INC.,                          )
                                                  )
                                 Defendant.       )


   NOTICE OF MOTION OF NAVIGATORS SPECIALTY INSURANCE COMPANY
                  FOR WITHDRAWAL OF REFERENCE


           PLEASE TAKE NOTICE that on __________. 2019 at __________ ___.m. Eastern

Standard Time, or as soon thereafter as counsel may be heard, plaintiff, Navigators Specialty

Insurance Company (“Navigators”) shall move pursuant to title 28 U.S.C. §157(d), Bankruptcy

Rule 5011, and Eastern District of Pennsylvania Local Bankruptcy Rule 5011-1, for an order

withdrawing the reference to the Bankruptcy Court.

           PLEASE TAKE FURTHER NOTICE that in support of the within motion, Navigators

will rely upon the Brief in Support of Motion of Navigators for Withdrawal of Reference, filed

herewith and the argument of counsel on the return date.
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        PLEASE TAKE FURTHER NOTICE that oral argument is hereby requested if timely

opposition is filed for the within motion.
                                                  Respectfully submitted,

Dated: September ____, 2019                       /s/ Julian E. Neiser
                                                  Julian E. Neiser (PA I.D. 87306)
                                                  Spilman Thomas & Battle, PLLC
                                                  301 Grant Street, Suite 3440
                                                  Pittsburgh, PA 15219
                                                  Telephone: (412) 325-3304
                                                  jneiser@spilmanlaw.com

                                                  Counsel to Navigators Specialty Insurance
                                                  Company




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                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:                                             )     Misc. No. __________
                                                    )
 HUDSON PALMER HOMES, INC. f/k/a                    )     Chapter 7
 THE CUTLER GROUP, INC.,                            )
                                                    )
                                   Debtor.          )     Bankruptcy Case No. 18-17509 (JKF)
                                                    )
                                                    )
                                                    )
                                                    )
 NAVIGATORS SPECIALTY INSURANCE                     )
 COMPANY,                                           )
                                                    )
                                   Plaintiff,       )     Adv. Pro. No. 19-00146 (JKF)
                                                    )
                          v.                        )
                                                    )
 HUDSON PALMER HOMES, INC., f/k/a                   )
 THE CUTLER GROUP, INC.,                            )
                                                    )
                                   Defendant.       )


                           BRIEF IN SUPPORT OF MOTION OF
                     NAVIGATORS SPECIALTY INSURANCE COMPANY
                          FOR WITHDRAWAL OF REFERENCE

                                   PRELIMINARY STATEMENT

           This action is an adversary proceeding commenced by the removal from state court of an

action originally brought in 2017 by Navigators Specialty Insurance Company ("Navigators")

against Hudson Palmer Homes, Inc. f/k/a The Cutler Group, Inc. (the "Debtor") in the Court of

Common Pleas of Montgomery County, Pennsylvania (the "State Court Action"). The State Court

Action seeks rescission of Policies (defined herein) in accordance with Pennsylvania law because

Debtor made numerous misrepresentations and/or omissions from the applications for insurance

on the Policies regarding, inter alia, loss history, out-of-the ordinary losses, claims, and/or its
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pattern of negligent and/or defective construction despite Debtor's having actual knowledge of

numerous claims against it at or prior to the time Debtor tendered the aforementioned applications

to Navigators. Pursuant to 28 U.S.C. § 157(d), Bankruptcy Rule 5011, and Eastern District of

Pennsylvania Local Bankruptcy Rule 5011-1, Navigators submits this Brief in Support of its

Motion to Withdraw the Reference to the Bankruptcy Court. For all of the reasons set forth below,

the reference to the Bankruptcy Court should be withdrawn in this matter, which involves state

law claims related to the rescission of insurance policies that are all "non-core."

                                    STATEMENT OF FACTS

        Navigators issued a Commercial General Liability Policy to Debtor for the period of

February 1, 2014 to February 1, 2015, bearing policy number NY14CGL123567IC (the “2014

Policy”). Navigators issued a Commercial General Liability Policy to Debtor for the period

February 1, 2015 to February 1, 2016, bearing policy number IS15CGL123567IC (the “2015

Policy;” and together with the 2014 Policy, the "Policies").

        In connection with the issuance of both the 2014 Policy and the 2015 Policy, Debtor

submitted to Navigators applications for commercial insurance. Upon information and belief,

Debtor made numerous misrepresentations and/or omissions from the applications regarding, inter

alia, loss history, out-of-the ordinary losses, claims, and/or its pattern of negligent and/or defective

construction.

        Before and after the issuance of the Policies, hundreds of claims were asserted against

Debtor. Despite having actual knowledge of numerous claims against it at or prior to the time

Debtor tendered the aforementioned applications to Navigators, Debtor failed to disclose a

substantial number of claims until after Navigators had issued both its Policies.




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        Debtor tendered certain claims (the "Tendered Claims") to Navigators under the Policies.

Navigators resolved, defended, and/or continues to defend the Tendered Claims under a

reservation of rights.

        On May 12, 2017, Navigators filed in the Court of Common Pleas of Montgomery County,

Pennsylvania a Complaint for Rescission and Declaratory Relief ("Complaint"), which action is

styled Navigators Specialty Insurance Company v. The Cutler Group Inc. and is pending at Case

No. 2017-09794 ("State Court Action"). The State Court Action contains three (3) counts and seeks

rescission of the Policies in accordance with Pennsylvania law. In Count 1, Navigators seeks

rescission of the 2014 Policy. In Count 2, Navigators seeks rescission of the 2015 Policy. In Count

3, Navigators seeks a declaratory judgment that it has no duty to defend under the Policies.

        On November 3, 2017, Debtor filed an Answer, New Matter and Counterclaim. On

November 24, 2017, Navigators filed a reply. The parties to the State Court Action had engaged

in significant discovery by the time Debtor commenced its chapter 7 bankruptcy case.

        On November 12, 2018 (the "Petition Date"), Debtor filed a voluntary petition for relief

under chapter 7 of the Bankruptcy Code in the United States Bankruptcy Court for the Eastern

District of Pennsylvania (the "Bankruptcy Court"). On the Petition Date, Gary F. Seitz, Esq. was

appointed as the chapter 7 Trustee for the Debtor's estate. On April 22, 2019, a suggestion of

bankruptcy was filed in the State Court Action.

        On July 23, 2019, the Trustee filed a Notice of Removal of the State Court Action. D.I.

311. On July 31, 2019, the Bankruptcy Court granted Navigators' motion to lift the automatic stay

as to the State Court Action. D.I. 327.




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                                     LEGAL ARGUMENT

        I.     ALL OF THE FACTORS TO BE WEIGHED BY THE DISTRICT
               COURT IN DECIDING THIS MOTION OVERWHELMING
               SUPPORT A WITHDRAWAL OF THE REFERENCE

        The District Court should withdraw the reference to the Bankruptcy Court pursuant to 28

U.S.C. § 157(d), as each of the factors to be considered by the District Court in making such a

determination clearly weigh in favor of withdrawing the reference in this matter. Pursuant to 28

U.S.C. § 157(d)

               The district court may withdraw, in whole or in part, any case or proceeding
               referred under this section, on its own motion or on timely motion of any
               party, for cause shown. The district court shall, on timely motion of a party,
               so withdraw a proceeding if the court determines that resolution of the
               proceeding requires consideration of both title 11 and other laws of the
               United States regulating organizations or activities affecting interstate
               commerce.

In determining whether to withdraw a reference to the Bankruptcy Court for cause, a District Court

will consider several factors. The most important factor is whether the proceeding is "non-core."

In re Burger Boys, Inc., 94 F.3d 755, 762 (2d. Cir. 1996); In re Pelullo, No. 96–MC–279, 1997

WL 535166, at * 2 (E.D.Pa. August 15, 1997) (noting that “keeping [a non-core bad faith claim

against and insurer] proceeding in the bankruptcy court wastes judicial resources because the

district court must review the bankruptcy court's proposed findings of fact and conclusions de

novo.”) citing Orion Pictures Corp. v. Showtime Networks, Inc. (In re Orion Pictures Corp.), 4

F.3d 1095, 1101 (2d Cir. 1993); In re Philadelphia Training Center Corp., 155 B.R. 109, 112

(E.D. Pa. 1993). The other factors to be considered include the most efficient use of judicial

resources, the delay and costs to the parties, uniformity of bankruptcy administration, prevention

of forum shopping, economical use of the debtor's and litigant's resources, and expediting the

bankruptcy process. In re Pruitt, 910 F.2d 1160, 1168 (3d Cir. 1990).




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        Each of the above factors weighs in favor of withdrawal of the reference from the

Bankruptcy Court in this case.

               A.      The Causes of Action in the State Court Action are all Non-
                       Core.

        In this case, Navigators' claims are "non-core," thereby satisfying the most important factor

for withdrawal of the reference. In determining whether the District Court should withdraw a

reference for cause shown, the issue of whether the proceeding is "core" or "non-core" is a

threshold factor that must be considered. 28 U.S.C. §157(b); In re Pelullo, No. 96–MC–279, 1997

WL 535166, at * 2 (noting that whether the claim is "core" or "non-core" is "the most important

factor in determining whether to withdraw a reference to the bankruptcy court"). A proceeding is

a "core" matter under Section 157 if it invokes a substantive right provided for under the

Bankruptcy Code or if it is a proceeding that could arise only in the context of a bankruptcy case.

Beard v. Braunstein, 914 F.2d 434, 444 (3d Cir. 1990); Halper v. Halper, 164 F.3d 830, 836 (3d

Cir. 1999); see also In re Combustion Engineering Inc., 391 F.3d 190, 225 (3d Cir. 2004) (stating

that "[c]ases under title 11, proceedings arising under title 11, and proceedings arising in a case

under title 11 are referred to as 'core' proceedings; whereas proceedings 'related to' a case under

title 11 are referred to as 'non-core' proceedings").

        The claims in the State Court Action do not meet the criteria for a "core" matter as they are

limited to allegations and claims seeking rescission of the pre-petition Policies under Pennsylvania

state law, based entirely on prepetition conduct that are independent of and predate Debtor's

bankruptcy estate. The State Court Action is not a proceeding that could only arise under title 11,

and had been pending in Pennsylvania state court since 2017. Indeed, the courts in this District

have consistently held that actions to determine rights to insurance are clearly "non-core"

proceedings. See., e.g. Beard, supra, 914 F.2d at 445¬446; In re G-I Holdings, Inc., 278 B.R. 725,



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736-37 (Bankr. D.N.J. 2002) (insurance coverage action was non-core). See also In re Nat'l

Century Fin. Enters., 312 B.R. 344, 348 (Bankr. S.D. Ohio 2004) (rescission action was non-core).

               B.      The Most Efficient Use of Judicial Resources Weighs in Favor
                       of Withdrawing the Reference in this Matter Where Navigators
                       Has Not Consented to the Issuance of Final Orders by the
                       Bankruptcy Court.

        As a non-core proceeding, the Bankruptcy Court may only make proposed findings of fact

or law that are subject to de novo review by the District Court for final adjudication. See Stern v.

Marshall, 564 U.S. 462, XXX, 131 S.Ct. 2594, 180 L.Ed.2d 475 (2011), Wellness Int'l Network

Ltd., v. Sharif, ––– U.S. ––––, 135 S.Ct. 1932, 191 L.Ed.2d 911 (2015). Any decision of the

Bankruptcy Court would therefore result in an appeal to the District Court. This would waste

judicial resources, result in duplicative briefing, and cause both parties to incur unnecessary

expense. The Bankruptcy Court would also be burdened by having to make recommendations in

this state law rescission action, as well as managing complex discovery issues and expert

testimony, in addition to administering various complex bankruptcy and associated proceedings

on its docket. Moreover, de novo review by the District Court would cause excessive delay, in

combination with the delay associated with merely being in one of the busiest bankruptcy courts

in the country. See, e.g., In re Pruitt, supra, 910 F.2d. at 1168.

               C.      Other Factors Also Weigh in Favor of Withdrawing the
                       Reference.

        In determining whether a withdrawal of the reference is proper, courts consider additional

factors: (1) whether withdrawal would promote the uniformity of bankruptcy administration; (2)

whether withdrawal has been requested as a means of forum shopping; and (3) whether the motion

to withdraw has been made in a timely matter. See, e.g., In re Pruitt, supra, 910 F.2d. at 1168.

Once again, these factors also weigh in favor of the withdrawal of the reference.




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        The fact that there are no bankruptcy issues involved in the State Court Action, simply

issues of state law related to the rescission of insurance policies, means keeping this case in the

Bankruptcy Court will not "promote the uniformity of bankruptcy administration." Further, issues

related to insurance contract rescission and insurance coverage are typically matters reserved for

either the state courts or the United States District Courts as such actions do not arise under title

11 of the United States Code.

        Withdrawal of the reference is consistent with this Court's disapproval of forum shopping.

Because the causes of action set out in the State Court Action are non-core, the chapter 7 trustee

is aware that absent consent of Navigators, the Bankruptcy Court may not enter final orders and

that the State Court Action is subject to de novo review. Removal of this action to the Bankruptcy

Court is an attempt by the chapter 7 trustee to forum shop by seeking removal of this action to a

court that he believes might be more favorable to the estate but that lacks final authority to rule on

the causes of action at issue.

        With respect to timeliness, Navigators has made this motion for withdrawal in a timely

fashion. Since the Notice of Removal was filed, there have been no substantive hearings on the

State Court Action before the Bankruptcy Court.




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        WHEREFORE, Navigators Specialty Insurance Company respectfully requests that this

Court enter an order: (i) withdrawing the reference to the Bankruptcy Court and (ii) granting such

other relief as is just and proper.

                                                      Respectfully submitted,

Dated: September 5, 2019                              /s/ Julian E. Neiser
                                                      Julian E. Neiser (PA I.D. 87306)

                                                      Spilman Thomas & Battle, PLLC
                                                      301 Grant Street, Suite 3440
                                                      Pittsburgh, PA 15219

                                                      Telephone: (412) 325-1116
                                                      jneiser@spilmanlaw.com

                                                      Counsel to Navigators Specialty Insurance
                                                      Company




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                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:                                             )       Misc. No. __________
                                                    )
 HUDSON PALMER HOMES, INC. f/k/a                    )       Chapter 7
 THE CUTLER GROUP, INC.,                            )
                                                    )
                                   Debtor.          )       Bankruptcy Case No. 18-17509 (JKF)
                                                    )
                                                    )
                                                    )
                                                    )
 NAVIGATORS SPECIALTY INSURANCE                     )
 COMPANY,                                           )
                                                    )
                                   Plaintiff,       )       Adv. Pro. No. 19-00146 (JKF)
                                                    )
                          v.                        )
                                                    )
 HUDSON PALMER HOMES, INC., f/k/a                   )
 THE CUTLER GROUP, INC.,                            )
                                                    )
                                   Defendant.       )

                                    CERTIFICATE OF SERVICE

           I, Julian E. Neiser, hereby certify that on September __, 2019, I have caused this hereby
certify that the Motion of Navigators Specialty Insurance Company for Withdrawal of
Reference and Brief in Support was electronically filed on this date; it is available for viewing
and downloading on the Court’s CM/ECF system; and it has been served on the following via the
Court’s CM/ECF system:
 Gary F. Seitz                                      George M. Conway
 Gellert Scali Busenkell & Brown LLC                United States Trustee
 8 Penn Center                                      833 Chestnut Street, Suite 500
 1628 John F. Kennedy Blvd., Suite 1901             Philadelphia, PA 19107
 Philadelphia, PA 19103                             Email: george.m.conway@usdoj.gov
 Email: gseitz@gsbblaw.com

                                                    SPILMAN THOMAS & BATTLE, PLLC

                                                    /s/ Julian E. Neiser
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                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:                                            )     Misc. No. __________
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 HUDSON PALMER HOMES, INC. f/k/a                   )     Chapter 7
 THE CUTLER GROUP, INC.,                           )
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                                  Debtor.          )     Bankruptcy Case No. 18-17509 (JKF)
                                                   )
                                                   )
                                                   )
                                                   )
 NAVIGATORS SPECIALTY INSURANCE                    )
 COMPANY,                                          )
                                                   )
                                  Plaintiff,       )     Adv. Pro. No. 19-00146 (JKF)
                                                   )
                         v.                        )
                                                   )
 HUDSON PALMER HOMES, INC., f/k/a                  )
 THE CUTLER GROUP, INC.,                           )
                                                   )
                                  Defendant.       )


    ORDER WITHDRAWING THE REFERENCE TO THE BANKRUPTCY COURT

           AND NOW, this ____ day of __________, 2019, upon consideration of Motion of

Navigators Specialty Insurance Company's ("Navigators") for Withdrawal of Reference; and the

Court having considered the papers submitted in opposition thereto, if any; and oral argument, if

any, having been heard; and good cause appearing:

           It is hereby ORDERED that Navigators' Motion be and hereby is GRANTED; and

           IT IS FURTHER ORDERED that the reference of this adversary proceeding to the

United States Bankruptcy Court for the Eastern District of Pennsylvania is hereby

WITHDRAWN.

                                                           ______________________________
